O A O 247 (N C /W 11/11) O rder R egarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT C OURT
                                                                            for the
                                                         Western District of North Carolina

                     United States of America                                  )
                                v.                                             )
                                                                                 Case No:         DNCW 390CR000085-007
                        GARY LEW IS DAVIS                                      )
                                                                               ) USM No:          08282-058
Date of Original Judgment:     November 26, 1990
                                                                               )
Date of Last Amended Judgment: September 15, 2009                                Pro se
                                                                               )
                                                                                  Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of        is reduced to

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Original Offense Level:    42              Amended Offense Level:     38
Criminal History Category: IV              Criminal History Category: IV
Original Guideline Range:  360 months-life Amended Guideline Range: 324-405 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing and the reduced sentence is comparably less than the amended guideline range.
 The reduced sentence is above the amended guideline range.
 Other (explain):  The application of Amendment 750 provides no change in the guideline calculations in this case
                    following application of Amendment 706.




III. ADDITIONAL COM MENTS
Defendant sentenced to consecutive terms of 60 months and 240 months on remaining charges.


Except as provided above, all provisions of the judgment dated                        November 26, 1990    shall remain in effect.
IT IS SO ORDERED .
                                                                                      Signed: July 23, 2012
Order Date:           July 23, 2012


Effective Date:
                       (if different from order date)




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